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                             EXHIBIT 3
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..

                  IN THE CIRCUIT COURT OF MARYLAND FOR ANNE ARUNDEL COUNTY

            NEXTGEAR CAPITAL, INC.,                                   *
                      Plaintiff,                                      *
                                                                                              { /'-!-/8 7{,~_]
                                                                             CASE NO._______________
                                                                      *
            vs.
                                                                      *
            BELTWAY AUTO BROKERS, LLC, et al.
                                                                      *
                      Defendants.                                     *
            *         *        *       *       *      *       *       *       *      *        *     *       *
                                           TEMPORARY RESTRAINING ORDER

     N
                      This matter comes before the Court upon the Verified Complaint for Injunctive Relief

     3- and Damages (the "Verified Complaint"), Motion for Temporary Restraining Order, Attachment
     0.
            Before Judgment, and Preliminary and Permanent Injunctions (the "Motion"), and Memorandum
     :::r
     >-     of Law in Support of Motion for Temporary Restraining Order, Writ of Attachment Before
     ~
     ~ ·Judgment, and Preliminary and Permanent Injunctions (the "Memorandum") filed by Plaintiff

            NextGear Capital, Inc. ("NextGear") against Defendants Beltway Auto Brokers, LLC ("Beltway

            Auto"), Mr. K.hazeyer Molavi, and Ms. Shahla Nozary. It is hereby ORDERED and

            ADJUDGED on this          ./..!f~ay of May, 2014 at <j:· cJ()           in the   A.~0as follows:
                      1.       The Court finds, pursuant to Maryland Rules 15-501 through 15-505, from the

            specific facts shown by the Verified Complaint, the Motion, and the Memorandum, that

            NextGear will suffer immediate, substantial and irreparable harm before a full adversary hearing

            can be held on the propriety of a preliminary or final injunction.

                      2.       It is hereby ORDERED that:

                                a.     Defendant Beltway Auto, as well as its agents and all those acting in

                           concert with it, is enjoined from using, encumbering, transferring, selling, or otherwise


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                    disposing of any funds, property, and/or assets in which it has any ownership interest,

                    including but not limited to any motor vehicles, whether or not purchased with credit

                    from NextGear;

                          b.    Defendant Beltway Auto, as well as its agents and all those acting in

                    concert with it, is enjoined from spending, disbursing, wiring, converting, drawing any

                    check or draft on, or otherwise transferring any amount from any financial account in

                    which it has an interest;

                          c.    Defendants Mr. Molavi and Ms. Nozary are enjoined from using,

                    encumbering, transferring, selling or otherwise disposing of any funds, property,

                    and/or assets in which either individual has any ownership interest;

                          d.     Defendants Mr. Molavi and Ms. Nozary are enjoined from spending,

                    disbursing, wiring, converting, drawing any check or draft on, or otherwise

                    transferring any amount from any financial account in which either individual has an

                    interest.

               3.        All banks or other financial institutions holding accounts owned by Beltway Auto

     shall immediately freeze all such accounts.

               4.        All banks or other financial institutions holding accounts owned by Mr. Molavi,

     Ms. Nozary, or both ofthemjointly shall immediately freeze all such accounts.

               5.        Within three (3) days after the date of the Temporary Restraining Order,

     Defendants Beltway Auto, Mr. Molavi, and Ms. Nozary shall produce to NextGear information

     and documents sufficient to identify the current location of every motor vehicle in which

     Beltway Auto has an interest, including but not limited to, all motor vehicles purchased using

     credit from NextGear.



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         6.      Beltway Auto shall be enjoined, prohibited, and restrained from moving, altering,

or concealing any of the motor vehicles in which it has an interest without NextGear's written

consent.

         7.      This Temporary Restraining Order shall terminate and be of no further force or

effect ten (10) days from the date and time indicated above, unless otherwise ordered by the

Court.

         8.      A bond for the injunctive relief ordered herein shall be waived pursuant to the

Demand Note.

         9.      Pursuant to Maryland Rule 2-115.and Maryland Code, §§3-302 to 3-305 of the

Courts & Judicial Proceedings Article, the Clerk shall issue a Writ of Attachment before

Judgment directing a garnishment of property or credits of Beltway Auto, Mr. Molavi, and Ms.

Nozary held by Bank of America, including but not limited to account number

X:XXXXXXX1606. Bank of America's resident agent is The Corporation Trust Incorporated,

351 West Camden Street, Baltimore, Maryland 21201.

         10.     The Clerk is hereby directed to schedule a hearing on Plaintiff's Motion for a

Preliminary Injunction at the earliest practicable time, not more than ten ( 10) days from the date

of this Temporary Restraining Order, unless otherwise directed.

           11.   Beltway Auto, Mr. Molavi, Ms. Nozary, or any other person affected by this

Temporary Restraining Order may apply for a modification or dissolution of this Order on two

(2) days' notice to the Plaintiff, or such shorter notice as the Court may prescribe.
